Case 1:13-cv-03206-WJM-KMT Document 393 Filed 11/20/17 USDC Colorado Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                Judge William J. Martínez

   Civil Action No. 13-cv-3206-WJM-KMT

   CREW TILE DISTRIBUTION, INC.,

         Plaintiff and CounterDefendant,

   and

   RYAN A. DAVIS,
   DARLYNE A. DAVIS,
   GLENN L. DAVIS,
   SHANA L. BASTEMEYER,
   PARADIGM TILE & STONE DISTRIBUTORS, LLC, and
   G&D DAVIS HOLDINGS, LLC,

         CounterDefendants,

   v.

   PORCELANOSA LOS ANGELES, INC.,
   PORCELANOSA NEW YORK, INC.,
   PORCELANOSA TEXAS, CORP., and
   PORVEN, LTD.,

         Defendants and CounterClaimants.


                               AMENDED FINAL JUDGMENT


         This action was tried before a jury of eight sworn to try the issues herein, with the

   Honorable William J. Martínez presiding.

         At the close of all the evidence the Court entered oral rulings on the record on

   the parties’ oral Federal Rule of Civil Procedure 50(a)(1) motions for judgment as a

   matter of law, which are incorporated herein by reference.

         This case was submitted to the jury on March 23, 2017. The jury rendered a
Case 1:13-cv-03206-WJM-KMT Document 393 Filed 11/20/17 USDC Colorado Page 2 of 3




   unanimous verdict.

         The Court entered its Order Entering Findings of Fact and Ruling on Equitable

   Claims and Defenses on November 2, 2017, (ECF No. 387).

         Pursuant to Fed. R. Civ. P. 58(a), all Orders filed during the pendency of this

   case, and the jury’s verdict, are set out in a separate document.

         IT IS THEREFORE ORDERED that

         1.     Judgment is entered in favor of all Defendants and against Plaintiff on all

                of Plaintiff’s equitable claims, including its claim(s) for unjust

                enrichment/quantum meruit;

         2.     Judgment is entered in favor of CounterClaimants and against

                CounterDefendant Paradigm Tile & Stone Distributors, LLC on

                CounterClaimants’ claims for declaratory judgment and piercing the

                corporate veil, as follows:

                a.      The Court DECLARES that CounterDefendant Paradigm Tile &

                        Stone Distributors, LLC is and was at relevant times an alter ego of

                        CounterDefendants Crew Tile Distribution, Inc., Ryan A. Davis, and

                        Darlyne A. Davis;

                b.      Paradigm Tile & Stone Distributors, LLC is therefore jointly and

                        severally liable for the liabilities in this action of CounterDefendants

                        Crew Tile Distribution, Incorporated; Ryan A. Davis and Darlyne A.

                        Davis;

         3.     Judgment is entered against CounterClaimants and in favor of all

                CounterDefendants other than Paradigm Tile & Stone Distributors, LLC on
Case 1:13-cv-03206-WJM-KMT Document 393 Filed 11/20/17 USDC Colorado Page 3 of 3




                CounterClaimants’ equitable claims for declaratory judgment and piercing

                the corporate veil;

         4.     Defendants’/CounterClaimants’ request for an award of attorneys fees as

                a sanction pursuant to the Court’s inherent authority is DENIED;

         5.     Final Judgment is entered in this matter making CounterDefendants Crew

                Tile Distribution, Incorporated; Paradigm Tile & Stone Distributors, LLC;

                Ryan A. Davis; and Darlyne A. Davis jointly and severally liable to

                CounterClaimants in the amount of $460,000.00;

         6.     Post-judgment interest shall accrue at the legal rate of 1.43% from the

                date of entry of judgment;

         7.     Costs are awarded pursuant to the procedures set forth in Fed. R. Civ. P.

                54(d)(1) and D.C.COLO.LCivR 54.1.

         Dated at Denver, Colorado this 3rd day of November, 2017.



   APPROVED BY THE COURT:                         FOR THE COURT:
                                                  JEFFREY P. COLWELL, CLERK
                                                  By: s/Deborah Hansen
   Judge William J. Martínez                      Deborah Hansen, Deputy Clerk
